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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

        v.                                         Case No. 1:21-cr-00582-CRC
 MICHAEL A. SUSSMANN,

               Defendant.


                            NOTICE OF FILING UNDER SEAL

       Please take notice that on May 2, 2022, Defendant is filing a Memorandum of

Understanding executed by Faust Petkovich under seal with the Clerk pursuant to the Protective

Order Pertaining to Classified Information dated November 4, 2021.


       Dated: May 2, 2022

                                                  Respectfully submitted,


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